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14                                 UNITED STATES DISTRICT COURT
15                                NORTHERN DISTRICT OF CALIFORNIA
16                                        OAKLAND DIVISION

17   CELLWITCH INC.,                                Case No. 4:19-CV-01315-JSW
18                   Plaintiff,
                                                    DEFENDANT TILE, INC.’S REPLY IN
19           v.                                     SUPPORT OF ITS MOTION FOR
                                                    RECONSIDERATION OF THE COURT’S
20   TILE, INC.,                                    NOV. 21, 2019 ORDER DENYING
                                                    DEFENDANT’S MOTION TO DISMISS
21                   Defendant.                     (Dkt. 57) AND REQUEST FOR JUDICIAL
                                                    NOTICE
22
                                                    Date: September 23, 2022
23                                                  Time: 9:00 a.m.
                                                    Courtroom: 5
24                                                  Judge: Jeffrey S. White
25

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 1   I.       INTRODUCTION
 2            Tile continues to litigate the ’655 Patent only because Plaintiff successfully convinced the
 3   Court nearly three years ago that obviousness and non-inventiveness are the same issue to evade
 4   dismissal under Rule 12. See Dkt. 38 at 14:1–14 & 14:26–15:11 (Plaintiff’s arguments); Dkt. 57 at
 5   11:18–12:7 (order denying Tile’s prior motion to dismiss). Plaintiff does not dispute the fact that
 6   the position it takes now—that obviousness and non-inventiveness are different issues—is clearly
 7   inconsistent with its prior position. See Dkt. 115 at 14:9–15:2. Plaintiff is therefore judicially
 8   estopped from taking its newfound inconsistent position. Because all other relevant factors
 9   (substantial overlap of evidence or arguments, overlap in pretrial preparation, and relatedness of the
10   claims) weigh in Tile’s favor, issue preclusion prevents Plaintiff from pursuing its claims in view
11   of the PTAB’s Final Written Decision finding the Buddy Limitation obvious.
12            Even if judicial estoppel did not prevent Plaintiff from arguing that obviousness and non-
13   inventiveness are different issues (it does), Plaintiff’s argument that the PTAB applied a different
14   rule of law for purposes of issue preclusion in these circumstances is a red herring and is in any
15   event legally erroneous. Plaintiff’s analysis primarily relies on a single, out-of-context sentence
16   from a dissenting opinion that Plaintiff fails to identify as such (see, e.g., Dkt. 115 at 9:20–21
17   (quoting Amdocs (Israel) Ltd. v. Openet Telecom, Inc., 841 F.3d 1288, 1311 (Fed. Cir. 2016) (Reyna,
18   J., dissenting)), and the additional authority it relies upon similarly fails to support its position.
19   Accordingly, issue preclusion also prevents Plaintiff from raising its newfound argument that is
20   inconsistent with the one that carried the day in the 2019 motion practice, even if judicial estoppel
21   does not.
22            Setting aside issue preclusion, the PTAB’s Final Written Decision contradicts the Amended
23   Complaint’s allegations regarding the Buddy Limitation being an alleged inventive concept,
24   rendering those allegations implausible and conclusory. And Plaintiff does not seriously contend
25   that any of its other allegations in the Amended Complaint save its claims—nor could it, as the only
26   other allegations are conclusory or have also already been adjudged against Plaintiff. Plaintiff’s
27   argument that obviousness and non-inventiveness are different have no bearing in this analysis,
28   given that the Court’s order denying Tile’s prior motion to dismiss was premised solely on the patent

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 1   examiner’s incorrect opinion that the Buddy Limitation was not obvious over the prior art. See Dkt.
 2   32, ¶¶ 33–38. Given that the PTAB’s affirmed finding that the Buddy Limitation was in fact obvious
 3   in view of the prior art, and that PTAB’s finding is subject to judicial notice, the Amended
 4   Complaint is devoid of any plausible allegations that the remaining claims have an inventive
 5   concept.
 6          Plaintiff’s opposition otherwise takes a shotgun approach, raising nearly every conceivable
 7   procedural and backup substantive argument. None of these arguments are legally sound, and many
 8   simply ignore or otherwise fail to address Tile’s arguments. Plaintiff is not entitled to discovery or
 9   a trial because its Amended Complaint fails to state a claim upon which relief can be granted, and
10   its arguments to the contrary ignore the first Federal Rule of Civil Procedure, requiring “the just,
11   speedy, and inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1.
12          Tile respectfully requests that the Court reconsider its prior order, grant Tile’s requested
13   relief, and dismiss Plaintiff’s Amended Complaint with prejudice.
14   II.    ARGUMENT
15          A.      Issue Preclusion Applies Because Plaintiff Is Judicially Estopped from Taking
                    the Clearly Inconsistent Position that Obviousness and Non-Inventiveness Are
16                  Different Issues
17                  1.      Judicial Estoppel Applies
18          Plaintiff devotes much of its opposition to attempting to articulate a distinction with a
19   difference between Sections 101 and 103 that is material to Tile’s motion. See generally Dkt. 115
20   at 9:15–12:21 & 13:8–20. The Court need not determine whether any such alleged distinction exists,
21   however, because Plaintiff is judicially estopped from taking this position. Plaintiff does not deny
22   that (1) it argued in opposing Tile’s prior motion to dismiss that obviousness and non-inventiveness
23   are the same issue, or that (2) its first position was clearly inconsistent with its new position that
24   obviousness and non-inventiveness are different issues for purposes of dismissal. See id. at 14:9–
25   15:2. Plaintiff instead raises only two arguments against the application of judicial estoppel: (1) “the
26   Court did not actually rule in [Plaintiff]’s favor on Tile’s defense[,]” and (2) “[Plaintiff] did not
27   obtain any unfair advantage in the process.” Id. Neither of these arguments have merit.
28          For judicial estoppel to apply, Plaintiff needed only to have succeeded in persuading the

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 1   Court to adopt Plaintiff’s prior assertion. Baughman v. Walt Disney World Co., 685 F.3d 1131, 1133
 2   (9th Cir. 2012). Plaintiff does not dispute that the Court adopted Plaintiff’s prior, inconsistent
 3   assertion that obviousness and non-inventiveness are the same legal issue. See Dkt. 115 14:9–15:2.
 4   The Court’s denial of Tile’s prior motion to dismiss hinged on that determination. See Dkt. 57 at
 5   11:18–12:7. Plaintiff’s reliance on Vitrano v. State Farm Ins. Co. is inapposite because, in that case,
 6   the underlying issue was a factual issue that was not previously decided at all: whether “the
 7   Government seized [a] Rolex watch and $875 in cash[.]” No. 08 Civ. 103(JGK), 2009 WL 3365866,
 8   at *5 (S.D.N.Y. Oct. 19, 2009). The court “found that there was an issue of material fact” because
 9   the court did not previously find that the items were actually seized. Id. Here, Plaintiff does not (see
10   Dkt. 115 at 14:9–15:2)—and cannot (see Dkt. 57 at 11:18–12:7)—dispute that it succeeded in
11   persuading the Court that obviousness and non-inventiveness are legally synonymous such that the
12   patent examiner’s erroneous non-obviousness conclusion precluded dismissal. Judicial estoppel
13   prevents “a party from making a legal assertion that contradict[s] its earlier legal assertion.”
14   Baughman, 685 F.3d at 1133 (citing Wagner v. Prof’l Eng’rs in Cal. Gov’t, 354 F.3d 1036, 1044
15   (9th Cir. 2004)). With the final, non-appealable determination that the Buddy Limitation is obvious,
16   Plaintiff has no non-estopped arguments that the Buddy Limitation is inventive.
17          Plaintiff cannot credibly dispute that it obtained a tactical advantage by convincing the Court
18   to adopt its prior assertion or that doing so imposed an unfair detriment on Tile. See, e.g., United
19   Nat’l Ins. Co. v. Spectrum Worldwide, Inc., 555 F.3d 772, 779–80 (9th Cir. 2009) (“[The defendant]
20   benefitted from arguing in 2001 that [a third party]’s alleged infringement claim arose from
21   materials first published in 1999. If we allow [the defendant] to argue that the claim did not arise
22   until 2001, [the defendant]’s ‘gaming’ of the courts will allow it the possibility of prevailing on the
23   very position it successfully discredited . . . .”). The Court denied Tile’s motion to dismiss based on
24   Plaintiff’s assertion. See Dkt. 57 at 11:18–12:7. If Plaintiff had argued in opposing Tile’s prior
25   motion to dismiss that obviousness and non-inventiveness are entirely separate legal issues (as it
26   now argues), it would have admitted that the Amended Complaint was devoid of non-conclusory
27   facts regarding an alleged inventive concept, resulting in dismissal nearly three years ago. Had the
28   Court granted Tile’s prior motion to dismiss, there would be nothing to litigate regarding the ’655

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 1   Patent in any forum. Tile is still litigating issues related to the ’655 Patent only because Plaintiff
 2   succeeded in convincing the Court to adopt its prior, now-inconsistent assertion and deny Tile’s
 3   prior motion to dismiss.
 4                   2.      Every Element of Issue Preclusion Is Satisfied
 5           Because judicial estoppel bars Plaintiff from taking a contrary position, the first and second
 6   elements of issue preclusion (identical issue that was actually litigated and decided) are satisfied.
 7   And because the PTAB needed to find the Buddy Limitation obvious (or otherwise disclosed in the
 8   art) to find the cancelled claims obvious, the fourth element of issue preclusion (necessity of
 9   deciding the issue) is similarly satisfied.
10           Plaintiff’s arguments regarding the third element (a full and fair opportunity to litigate the
11   issue) are contrary to law. Specifically, Plaintiff’s complaints that it “had no opportunity to obtain
12   discovery or to develop an evidentiary record” before the PTAB ignore the fact that it had every
13   opportunity to do so. E.g., XY, LLC v. Trans Ova Genetics, 890 F.3d 1282, 1294 (Fed. Cir. 2018)
14   (stating when sua sponte applying a PTAB judgment to an appeal from a district court litigation that
15   “a patentee, having been afforded the opportunity to exhaust his remedy of appeal from a holding
16   of invalidity, has had his day in court[.]” (citations and internal quotation marks omitted)).
17           The fact that the PTAB utilizes the preponderance-of-the-evidence standard instead of the
18   clear-and-convincing standard is irrelevant:1 the Federal Circuit has not only reversed district court
19   infringement judgments by applying issue preclusion based on PTAB judgments (e.g., Sunoco
20   Partners Mktg. & Terminals L.P. v. U.S. Venture, Inc., 32 F.4th 1161, 1174 (Fed. Cir. 2022)), but
21   has done so sua sponte (XY, 890 F.3d at 1294). At least one other court in this district has similarly
22   found that this difference in standards is irrelevant for purposes of the application of issue preclusion
23   from PTAB proceedings. See Cisco Sys., Inc. v. Capella Photonics, Inc., No. 20-cv-01858-EMC,
24   2020 WL 4923697, at *4–6 (N.D. Cal. Aug. 21, 2020).
25           Finally, the fact that the PTAB analyzed other claims is also irrelevant. Issue preclusion
26   applies to unadjudicated patent claims “[i]f the differences between the unadjudicated patent claims
27
     1
      Plaintiff had no issue with relying on the Patent and Trademark Office’s use of the preponderance
28   of the evidence standard when it relied on the patent examiner’s incorrect conclusion that the Buddy
     Limitation was not obvious.
     DEFENDANT TILE, INC.’S REPLY ISO                  4
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 1   and adjudicated patent claims do not materially alter the question of invalidity[.]2 Ohio Willow Wood
 2   Co. v. Alps S., LLC, 735 F.3d 1333, 1342 (Fed. Cir. 2013) (citation omitted); see also Cisco, 2020
 3   WL 4923697, at *6 (applying Ohio Willow Wood to a PTAB judgment). Tile explained in its motion
 4   that Plaintiff’s Amended Complaint does not identify any separate inventive concept in the
 5   remaining patent claims and that Plaintiff cannot identify any such inventive concept. See Dkt. 114
 6   at 14:20–15:24. Indeed, Plaintiff also fails to identify any such inventive concept in its opposition.
 7   See Dkt. 115 at 15:4–25.
 8           B.     Issue Preclusion Applies Even in the Absence of Judicial Estoppel
 9           Issue preclusion still applies even if judicial estoppel does not bar Plaintiff from arguing that
10   obviousness and non-inventiveness are different issues. Plaintiff focuses most of its argument on
11   the second factor considered by the Ninth Circuit in deciding whether issues are identical
12   (application of the same rule of law), but all four factors ultimately favor Tile.
13                  1.      Applying the PTAB’s Findings in These Circumstances Does Not Require
                            Application of a Different Rule of Law
14
             Judicial estoppel alone precludes Plaintiff from now taking a position inconsistent with its
15
     prior argument, rendering the step two analysis devoid of any fact issues preventing dismissal. But
16
     even if judicial estoppel did not bar Plaintiff from maintaining an inconsistent position to avoid
17
     dismissal, issue preclusion still bars Plaintiff from relitigating the non-inventiveness of the Buddy
18
     Limitation. Contrary to Plaintiff’s arguments, applying the PTAB’s findings in these circumstances
19
     does not require application of a different rule of law. The Supreme Court in Mayo acknowledged
20
     and addressed the possible overlap between Sections 101 and 103 (Mayo Collaborative Servs. v.
21
     Prometheus Labs., Inc., 566 U.S. 66, 79, 81, 82, 90 (2012)), 3 and Plaintiff even argued in the 2019
22
     motion practice that the Buddy Limitation was inventive concept because “the Examiner found [that
23
     2
       Federal Circuit law, as opposed to Ninth Circuit law, controls this specific issue. Id. at 1342 (citing
24   Aspex Eyewear, Inc. v. Zenni Optical Inc., 713 F.3d 1377, 1380 (Fed. Cir. 2013); Aspex Eyewear,
     Inc. v. Marchon Eyewear, Inc., 672 F.3d 1335, 1341 n.1 (Fed. Cir. 2012)).
25
     3
       In Mayo, the Supreme Court repeatedly distinguished inventive concepts from obvious activities.
26   566 U.S. at 79 (distinguishing an inventive concept from “conventional or obvious” pre-solution
     activity (emphasis added)), 81 (noting that there was nothing suggesting that steps “were in context
27   obvious, already in use, or purely conventional” in discussing Diamond v. Diehr, 450 U.S. 175, 187
     (1981) (emphasis added)), 82 (distinguishing an inventive concept from “conventional or obvious”
28   post-solution activity (emphasis added)). The Supreme Court also recognized that the obviousness
     and inventive concept inquiries can “overlap.” Id. at 90. Plaintiff does not address these passages.
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 1   it] distinguish[ed] the ’655 Patent over the prior art[]” (Dkt. 38 at 14:1–3), specifically, an
 2   obviousness rejection (see id. at 3:3–28).
 3           Plaintiff’s cited cases are not inconsistent with the overlap. Tellingly, Plaintiff’s argument
 4   relies primarily on a single, out-of-context sentence from a dissenting opinion, which Plaintiff does
 5   not identify as such:4
 6

 7

 8   Dkt. 115 at 9:20–21 (quoting Amdocs, 841 F.3d at 1311 (Reyna, J., dissenting)); see also id. at 9:28–

 9   10:1 (same), 10:20–21 (same), 10:25–26 (same), 2:9–11 (applying this single, out-of-context

10   sentence from Judge Reyna’s dissenting opinion without attribution), 12:22–13:20 (same), 15:9–11

11   (same). The majority opinion in Amdocs explicitly recognized that the alleged inventive concept at

12   issue in that case was “a technical improvement over prior art technologies and served to improve

13   the performance of the system itself.” Amdocs, 841 F.3d at 1302 (emphasis added). And later Federal

14   Circuit opinions have similarly recognized that concepts are non-inventive under Section 101 when

15   they are “known in the art.” See, e.g., Dropbox, Inc. v. Synchronoss Techs., Inc., 815 F. App’x 529,

16   537–38 (Fed. Cir. 2020).

17           For the other cases cited by Plaintiff, Plaintiff has stripped away critical context in its

18   argument. For example, Plaintiff relies on the Supreme Court’s rejection in Mayo of “the

19   Government’s invitation to substitute [the] § 103 [inquiry] for the . . . inquiry under § 101.” Dkt.

20   115 at 10:10–12 (quoting Mayo, 566 U.S. at 91); see also id. at 12:16–17 (same). But there, the

21   Supreme Court was rejecting the Government’s argument that courts should rely primarily on

22   Sections 102, 103, and 112 to screen for invalid claims, not Section 101. Mayo, 566 U.S. at 88–91.

23   It was as part of this analysis that the Supreme Court recognized the “overlap” between these

24   sections. Id. at 90. Similarly, in Diamond v. Diehr, the Supreme Court held that the claims at issue

25   “were eligible for patent protection under [Section] 101,” but recognized that these claims could

26
     4
       It is unclear how this practice comports with the California Rules of Professional Conduct, the
27   D.C. Rules of Professional Conduct, or this Court’s Standards of Professional Conduct. See Cal. R.
     Prof. Conduct 3.3 (requiring candor to the tribunal); D.C. R. Prof. Conduct 3.3 (same); Civil L.R.
28   11-4 (requiring all attorneys practicing before the Court to “[b]e familiar and comply with the
     standards of professional conduct required of members of the State Bar of California[]”).
     DEFENDANT TILE, INC.’S REPLY ISO                 6
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 1   simultaneously be invalid under Sections 102 or 103. See 450 U.S. at 191. Here, Tile is not asking
 2   that the Court substitute Section 103 for Section 101; it is asking that the Court apply the overlap
 3   between these sections and recognize that—because the sole point of alleged inventiveness (the
 4   Buddy Limitation) is obvious—the claims lack an inventive concept under Section 101. The Federal
 5   Circuit’s decisions in Classen Immunotherapies, Inc. v. Biogen IDEC and Intellectual Ventures I
 6   LLC v. Symantec Corp. shared the same context. 650 F.3d 1057, 1059 (Fed. Cir. 2011); 838 F.3d
 7   1307, 1315 (Fed. Cir. 2016). And the district court’s opinion in Cellspin Soft, Inc. v. Fitbit, Inc.—
 8   which held that a concept could be inventive even though the specification admitted it was disclosed
 9   by the prior art (No. 17-cv-05928-YGR, 2021 WL 1421612, at *13 (N.D. Cal. Apr. 14, 2021))—
10   conflicts, for example, with the Federal Circuit’s holding to the contrary in Dropbox, which Tile
11   analyzed in its opening brief (see Dkt. 114 at 11:17–12:3) and Plaintiff simply fails to address. See
12   815 F. App’x at 537–38 (addressing concepts described in a patent specification as “known in the
13   art”).
14            In sum, by applying the PTAB’s affirmed finding that the Buddy Limitation is obvious, the
15   Court is applying the same rule of law for purposes of issue preclusion. In view of Mayo, the concept
16   that Plaintiff argued is inventive under Section 101 has been finally adjudged as obvious and
17   therefore cannot serve as a basis for Plaintiff to maintain its allegations of inventiveness. Further,
18   because the Supreme Court explicitly held in Mayo that a claim found novel or non-obvious under
19   Section 102 or 103 may still be invalid under Section 101 (see 450 U.S. at 191), Plaintiff’s argument
20   that “some of the PTAB’s findings actually support a finding of inventiveness under § 101 (even if
21   not invention under § 102 or § 103)[]” (Dkt. 115 at 13:12–15; see also id. at 12:22–13:7) has no
22   legal basis, especially since is entirely predicated on the single, out-of-context sentence from Judge
23   Reyna’s dissenting opinion in Amdocs. Accordingly, even if judicial estoppel did not prevent
24   Plaintiff from distinguishing obviousness from non-inventiveness at this juncture (it does), the
25   PTAB’s affirmed finding that the Buddy Limitation was obvious is indeed “irreconcilable with the
26   argument[]” that the Buddy Limitation is an inventive concept. Wenke v. Forest Labs., Inc., 796 F.
27   App’x 383, 385 (9th Cir. 2020).
28

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                    2.      All Factors Relevant to Determining Whether the Issues Are Identical Favor
 1                          Tile, and Every Element of Issue Preclusion Is Satisfied
 2          As discussed immediately above, the second factor for determining whether issues are
 3   identical (application of the same rule of law) favors Tile. Plaintiff’s arguments regarding the first
 4   (substantial overlap of evidence or arguments), third (overlap in trial preparation), and fourth
 5   (relatedness of the claims) factors are again entirely predicated on Judge Reyna’s dissenting opinion
 6   in Amdocs, and Plaintiff cannot identify any specific evidence or argument that (1) it can collect or
 7   present in this case that it could not have collected or presented in its proceedings before the PTAB
 8   or (2) that would have been irrelevant to the PTAB’s obviousness analysis and findings and yet
 9   somehow relevant to the inventive concept inquiry. See Dkt. 115 at 12:23–13:27.
10          Accordingly, in view of the analysis above regarding the other elements of issue preclusion
11   (see supra § II.A.2), all factors relevant to determining whether the issues are identical favor Tile,
12   even if judicial estoppel does not apply.
13          C.      Regardless of Whether Issue Preclusion Applies, the Allegations in the
                    Amended Complaint Are Implausible and Conclusory
14
            The Court should also dismiss the Amended Complaint because its allegations are now
15
     implausible and conclusory in view of the PTAB’s findings. Contrary to Plaintiff’s argument (see
16
     Dkt. 115 at 15:8–11), the Amended Complaint does not and cannot allege that the patent examiner
17
     found that the Buddy Limitation was inventive concept under Section 101: it instead alleges that the
18
     patent examiner (incorrectly) found that the Buddy Limitation was not obvious under Section 103.
19
     See Dkt. 32, ¶¶ 33–38. The PTAB corrected the patent examiner’s error and found that the Buddy
20
     Limitation (along with the independent claims as a whole) was, in fact, obvious. Dkt. 103-2 at 37–
21
     49. The PTAB’s findings are facts subject to judicial notice (see infra § II.E.2) that therefore
22
     contradict the Amended Complaint’s factual allegations. The PTAB’s findings also contradict
23
     Amended Complaint’s allegations regarding the InfoWorld publication, which Tile addresses
24
     immediately below in Section II.D. Accordingly, the Amended Complaint is devoid of any
25
     plausible, non-conclusory factual allegations regarding an alleged inventive concept that are not
26
     contradicted by facts subject to judicial notice. Tile thus respectfully requests that the Court dismiss
27
     the Amended Complaint on this additional basis. See generally Lu v. Stanford Univ., No. 17-cv-
28
     07034-VC, 2018 WL 11268585 (N.D. Cal. Mar. 26, 2018); Skillz Platform Inc. v. AviaGames Inc.,
     DEFENDANT TILE, INC.’S REPLY ISO         8
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 1   No. 21-cv-02436-BLF, 2022 WL 783338, at *18 (N.D. Cal. Mar. 14, 2022).
 2          The Court need not take Plaintiff at its word that “there are several other specific factual
 3   allegations in Cellwitch’s Amended Complaint sufficient to survive a motion to dismiss or judgment
 4   on the pleadings.” Dkt. 115 at 14:19–21 (citing Dkt. 32, ¶¶ 21, 26–40). If there were any specific
 5   factual allegations buried in these paragraphs beyond those contradicted by facts subject to judicial
 6   notice (there are not), Plaintiff could have identified them and was required to do so. “The Court is
 7   not obligated ‘to scour the record’ for a potential basis to grant or deny [a] motion to dismiss.” Jui-
 8   Yang Hong v. Extreme Networks, Inc., No. 15-cv-04883-BLF, 2017 WL 1508991, at *12 n.3 (N.D.
 9   Cal. Apr. 27, 2017) (citing Keenan v. Allan, 91 F.3d 1275, 1279 (9th Cir. 1996); Arisman v.
10   Woodford, No. C 00-4049, 2009 WL 814245, at *2 (N.D. Cal. Mar. 25, 2009)).
11          D.      Plaintiff’s Allegations Regarding the InfoWorld Publication Are Also Barred
                    By Issue Preclusion and Contradicted By Facts Subject to Judicial Notice
12
            Plaintiff acknowledges that the “Court did not even consider the InfoWorld
13
     Publication . . . to determine if there was an inventive concept.” Dkt. 115 at 14:3–5. It is unclear
14
     whether Plaintiff is continuing to argue that the InfoWorld Publication is relevant to its Section 101
15
     allegations. Regardless, as Tile explained in its motion, any allegations regarding the InfoWorld
16
     publication are also barred by issue preclusion and contradicted by facts subject to judicial notice
17
     (see Dkt. 114 at 12:17–23), and the above analysis applies equally to these allegations.
18
            These allegations are also defective because the PTAB found that the InfoWorld publication
19
     did not even “disclose[] or describe[]” the Buddy Limitation. Dkt. 103-2 at 69; id. at 56–66. Plaintiff
20
     does not dispute that the PTAB made this finding. See Dkt. 115 at 14:1–7 & 15:22–25. Plaintiff
21
     instead argues that issue preclusion should not apply because this finding was “not critical and/or
22
     necessary to the PTAB’s decision.” Dkt. 115 at 14:1–13. The PTAB, however, was required to
23
     address evidence of secondary considerations in finding the challenged claims (and the Buddy
24
     Limitation) obvious. Intercontinental Great Brands LLC v. Kellogg N. Am. Co., 869 F.3d 1336,
25
     1343 (Fed. Cir. 2017) (citing Graham v. John Deere Co. of Kan. City, 383 U.S. 1, 17–18 (1966));
26
     see also PPC Broadband, Inc. v. Corning Optical Commc’ns RF, LLC, 815 F.3d 734, 746–747 (Fed.
27
     Cir. 2016) (vacating in part a PTAB judgment that failed to properly analyze secondary
28
     considerations to arrive at an obviousness finding). The PTAB’s finding that the InfoWorld
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 1   publication did not “disclose[] or describe[]” the Buddy Limitation (Dkt. 103-2 at 69; id. at 56–66)
 2   means that Plaintiff cannot plausibly allege that the InfoWorld publication described the Buddy
 3   Limitation as an inventive concept. Dropbox, Inc., 815 F. App’x at 538 (quoting Cellspin Soft, Inc.,
 4   927 F.3d 1306, 1317 (Fed. Cir. 2019)). Further, it is unclear what Plaintiff means when it argues
 5   that the PTAB’s findings were “very limited” (see Dkt. 115 at 15:22–25), but it is irrelevant: the
 6   PTAB’s finding that the InfoWorld publication did not disclose or describe the Buddy Limitation is
 7   a fact subject to judicial notice, and Plaintiff cannot rely on factual allegations in the Amended
 8   Complaint that contradict this finding to survive Tile’s motion to dismiss.
 9           E.     Tile’s Motion for Reconsideration and Underlying Motion to Dismiss Are
                    Procedurally Proper
10
                    1.      Tile’s Motions Were and Are Timely
11
             Because Tile filed its motion to dismiss before filing its answer, Tile’s motion to dismiss
12
     was timely. Fed. R. Civ. P. 12(b)(6). Regardless, if the Court has any procedural concerns, it has
13
     discretion to convert Tile’s motion to dismiss to a motion for judgment on the pleadings. Aldabe v.
14
     Aldabe, 616 F.2d 1089, 1093 (9th Cir. 1980); see also Lotes Co. v. Hon Hai Precision Indus. Co.,
15
     No. C-11-01036 JSW, 2011 WL 13152817, at *1 n.1 (N.D. Cal. July 14, 2011) (White, J.) (applying
16
     Aldabe). Tile requested in its motion for reconsideration that the Court exercise that discretion (Dkt.
17
     114 at 14:6–15), and Plaintiff did not oppose that request (see Dkt. 115 at 6:21–7:6). Plaintiff’s
18
     opposition instead notes that judgment on the pleadings is proper at this stage of the case. See id. at
19
     6:27–7:1 (citing Fed. R. Civ. P. 12(h)(2); Roundtree v. Adams, No. CV F 01 6502 LJO SMS, 2007
20
     WL 1232173, at *5 (E.D. Cal. Apr. 24, 2007)). Further, in all of the cases cited by Plaintiff that
21
     actually address this issue,5 the courts converted the underlying motion to dismiss to a motion for
22
     judgment on the pleadings. Elvig v. Calvin Presbyterian Church, 375 F.3d 951, 955–56 (9th Cir.
23
     2004); Gilbert L. Loaec 2014 Trust v. Doheny, No. 19-cv-02078-NC, 2019 WL 6255417, at *2
24
     (N.D. Cal. Nov. 22, 2019); Roundtree, 2007 WL 1232173, at *5. Tile respectfully requests that the
25
     Court do the same in this case if it has any timing concerns.
26
     5
27     Plaintiff also cited the out-of-circuit case Huntleigh USA Corp. v. United States, 65 Fed. Cl. 178,
     180 (Fed. Cl. 2005). See Dkt. 115 at 6:24–26. In that case, however, the court did not find the motion
28   for reconsideration of a motion to dismiss untimely; it denied reconsideration on the merits.
     Huntleigh, 65 Fed. Cl. at 180.
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                    2.      The Court Can Take Judicial Notice of the PTAB’s Findings at the Pleadings
 1                          Stage
 2          The fact that Tile’s motion for reconsideration is based on the PTAB’s findings does not
 3   convert the underlying motion to dismiss into a motion for summary judgment. In analyzing the
 4   pleadings, the Court can take judicial notice of the PTAB’s Final Written Decision (and the Federal
 5   Circuit’s affirmance thereof) to determine whether issue preclusion applies. See, e.g., Mack v. S.
 6   Bay Beer Distribs., Inc., 798 F.2d 1279, 1282–83 (9th Cir. 1986) (finding no error in taking judicial
 7   notice of administrative body’s decision and reviewing its findings to determine the applicability of
 8   issue preclusion in deciding a motion to dismiss, without converting the motion to one for summary
 9   judgment), abrogated on other grounds by Astoria Fed. Sav. & Loan Ass’n v. Solimino, 501 U.S.
10   104 (1991); Cisco, 2020 WL 4923697, at *3–7 (taking judicial notice of a PTAB judgment and
11   using the PTAB’s findings to determine the applicability of issue preclusion in deciding a motion
12   for judgment on the pleadings); see also XY, 890 F.3d at 1294 (sua sponte applying issue preclusion
13   on appeal based on a PTAB judgment). Indeed, [t]he availability of [issue preclusion]” is not an
14   issue of fact—it is an “issue of law[.]” Fireman’s Fund Ins. Co. v. Stites, 258 F.3d 1016, 1020 (9th
15   Cir. 2001) (emphasis added). The Court can therefore decide issue preclusion on the pleadings. E.g.,
16   Seismic Reservoir 2020, Inc. v. Paulsson, 785 F.3d 330, 335 (9th Cir. 2015) (“‘Rule 12(b)(6)
17   authorizes a court to dismiss a claim on the basis of a dispositive issue of law.’” (quoting Neitzke v.
18   Williams, 490 U.S. 319, 326 (1989))). The Court can also use the PTAB’s judgment to determine
19   whether the Complaint’s allegations contradict or are otherwise implausible or conclusory in view
20   of facts subject to judicial notice. See, e.g., Lu, 2018 WL 11268585 (finding that a prior judgment
21   rendered factual assertions implausible in granting a motion to dismiss).
22          To be clear, Tile is not asking the Court to take judicial notice to determine the truth of or
23   otherwise reweigh any facts; the PTAB has already done that work and has made findings against
24   Plaintiff. Tile is instead asking the Court to take judicial notice of the PTAB’s findings (which are
25   not subject to reasonable dispute) to (1) apply issue preclusion and (2) find that the Amended
26   Complaint’s allegations contradict the PTAB’s findings and are implausible or conclusory.
27          The cases cited by Plaintiff (see Dkt. 115 at 7:27–8:19) are inapposite. For example, in Lee
28   v. City of Los Angeles, the Ninth Circuit found that the district court erred because it “incorrectly

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 1   took judicial notice of the validity of [a] waiver, which was as yet unproved[]” (250 F.3d 668, 690
 2   (9th Cir. 2001) (emphasis added)), as opposed to the affirmed findings that the PTAB has already
 3   made against Plaintiff. In United States v. Southern California Edison Company, the court explicitly
 4   indicated that its analysis of judicial notice did not apply to issue preclusion.6 300 F. Supp. 2d 964,
 5   975 n.2 (E.D. Cal. 2004) (“Judicial notice is distinguished from res judicata and collateral estoppel[
 6   (i.e., issue preclusion)], which prevent a party from raising a claim or issue which has already been
 7   sufficiently addressed and decided in a prior proceeding where that party's interest was adequately
 8   represented.” (citations omitted)). There was similarly no discussion of issue preclusion in Dailey
 9   v. A&W Concentrate Company, and the court in that case was primarily concerned with improperly
10   relying upon judicial notice to “consider expert testimony,” rather than to decide the applicability
11   of issue preclusion. 519 F. Supp. 3d 668, 670 (N.D. Cal. 2021). Finally, issue preclusion was not at
12   issue in Dillon v. Murphy & Hourihane, LLP, and the court was considering a prior judgment in the
13   context of determining personal jurisdiction, not the sufficiency of the complaint under Rule
14   12(b)(6). No. 14-cv-01908-BLF, 2014 WL 5409040, at *3–12 (N.D. Cal. Oct. 22, 2014).
15                  3.      The PTAB’s Findings Are Material Facts Subject to Judicial Notice that
                            Warrant Reconsideration
16
             The PTAB’s findings are established facts that have been affirmed by the Federal Circuit
17
     and are not subject to reasonable dispute. Plaintiff’s argument that “Tile’s motion fails to establish
18
     the emergence of new facts or a change in law that would warrant reconsideration” (see Dkt. 115 at
19
     7:13–17) is waived because Plaintiff failed to raise it when opposing Tile’s motion for leave (see
20
     Dkt. 106). E.g., U.S. ex rel. Fallon v. Bell Transit Corp., No. 16-cv-06994-PJH, 2021 WL 3665898,
21
     at *5 (N.D. Cal. Aug. 18, 2021). Regardless, Plaintiff’s argument is contrary to law: the PTAB’s
22

23
     6
       This should have been apparent even without the footnote, given that courts routinely take judicial
24   notice of prior judgments to determine the applicability of issue preclusion. See, e.g., Mack, 798
     F.2d at 1282–83; Cisco, 2020 WL 4923697, at *3–7; Cunningham v. Schopp, No. C 14-3033-JSW,
25   2015 WL 218800, at *4, 9 & n.12 (N.D. Cal. Jan. 15, 2015) (White, J.). Further, any out-of-of-
     context statements in Southern California Edison upon which Plaintiff improperly relies to suggest
26   that a court cannot take judicial notice of prior findings conflicts with various Ninth Circuit cases
     cited in that very opinion. See e.g., U.S. ex rel. Robinson Rancheria Citizens Council v. Borneo,
27   Inc., 971 F.2d 244, 248–49 (9th Cir. 1992) (taking judicial notice and analyzing the findings in a
     state court judgment to determine the applicability of issue preclusion); Emrich v. Touche Ross &
28   Co., 846 F.2d 1190, 1198 (9th Cir. 1988) (finding no error in the district court’s taking judicial
     notice of “the proceedings and determinations” of other courts in deciding a motion to dismiss).
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 1   findings are facts subject to judicial notice. See, e.g., Mack, 798 F.2d at 1282–83 (recognizing that
 2   an administrative body’s judgment presents facts outside the pleadings that are properly subject to
 3   judicial notice in deciding a motion to dismiss). The PTAB’s Final Written Decision is also
 4   indisputably “new” because it did not issue until nearly 18 months after the Court denied Tile’s
 5   original motion to dismiss. Compare Dkt. 57, with Dkt. 103-2. Accordingly, reconsideration is
 6   proper under Civil Local Rule 7-9(b)(1) and (2), as the Court recognized when it granted Tile’s
 7   motion for leave. See Dkt. 111 (finding “good cause”).
 8          Similarly, Plaintiff’s argument that “the discovery of previously unavailable evidence is
 9   irrelevant at the dismissal stage” (see Dkt. 115 at 7:20–21 (internal quotation marks and citations
10   omitted)) ignores the context surrounding the recited legal principle. Discovery is irrelevant at the
11   pleadings stage because a plaintiff cannot rely on anticipated discovery to sidestep a defective
12   pleading. E.g., Whitaker v. Tesla Motors, Inc., 985 F.3d 1173, 1177 (9th Cir. 2021) (“Our case law
13   does not permit plaintiffs to rely on anticipated discovery to satisfy Rules 8 and 12(b)(6); rather,
14   pleadings must assert well-pleaded factual allegations to advance to discovery.” (citation omitted)).
15   Stated differently, this rule prevents Plaintiff from relying solely on anticipated discovery to defeat
16   Tile’s motion. Cellspin, 927 F.3d at 1317 (noting that a plaintiff must make “plausible and specific
17   factual allegations” regarding an alleged inventive concept to survive a motion to dismiss). It does
18   not prevent the Court from comparing the PTAB’s findings to the Amended Complaint’s
19   allegations, and it certainly does not prevent the Court from reconsidering its prior order in
20   accordance with the Court’s rules. E.g., Fed. R. Civ. P. 54(b) (“[A]ny order or other decision,
21   however designated, that adjudicates fewer than all the claims or the rights and liabilities of fewer
22   than all the parties . . . may be revised at any time before the entry of a judgment” (emphasis added));
23   Civil L.R. 7-9(a) (noting that the Court may reconsider “any interlocutory order” (emphasis added)).
24          Plaintiff’s primary case on this point is inapposite. See Huntleigh, 65 Fed. Cl. at 179. There,
25   the court discussed a non-final opinion in which it had “assumed the facts alleged by the plaintiff
26   were true”—it did not address a final judgment that contained actual findings against the plaintiff
27   (see id. at 179), which is a prerequisite for issue preclusion (E.g., Taylor v. Sturgell, 553 U.S. 880,
28   892 (2008) (citation omitted)).

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                    4.      Plaintiff Is Not Entitled to Discovery or to a Trial Based on a Complaint that
 1                          Is Barred By Issue Preclusion and Otherwise Defective
 2          Throughout its opposition, Plaintiff argues or suggests that it is entitled to discovery or a
 3   trial just because the pleadings are now closed. See, e.g., Dkt. 115 at 1:11–26, 5:26–6:8, 7:11–12,
 4   8:20–9:7, 13:21–27. This is, of course, not the case. Issue preclusion exists to protect parties against
 5   “the expense and vexation attending multiple lawsuits” and to “conserv[e] judicial resources”:
 6         The idea is straightforward: Once a court has decided an issue, it is “forever settled as
           between the parties,” . . . thereby “protect[ing]” against “the expense and vexation
 7         attending multiple lawsuits, conserv[ing] judicial resources, and foster[ing] reliance on
           judicial action by minimizing the possibility of inconsistent verdicts[.]” . . . In short, “a
 8
           losing litigant deserves no rematch after a defeat fairly suffered.” . . .
 9
     B&B Hardware, Inc. v. Hargis Indus., Inc., 575 U.S. 138, 147 (2015) (citations omitted) (applying
10
     judicial estoppel to a district court proceeding based on a TTAB judgment). Pleading standards—
11
     including the requirement that a plaintiff make plausible allegations—similarly exist to protect
12
     responding parties from being “subjected to the expense of discovery and continued litigation.”
13
     Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). These are gating legal doctrines that prevent a
14
     party from harassing another and wasting the responding party’s and judicial resources. None of the
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     cases cited by Plaintiff for the proposition that it can proceed on a pleading that is now barred by
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     issue preclusion and otherwise implausible addressed or otherwise anticipated this case’s procedural
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     posture. See Branca v. Bai Brands, LLC, No. 3:18-cv-00757-BEN-KSC, 2019 WL 1082562, at *3
18
     (S.D. Cal. Mar. 7, 2019) (deciding a motion to dismiss that did not involve a judgment from another
19
     case); Coleman v. Quaker Oats Co., 232 F.3d 1271, 1292–94 (9th Cir. 2000) (addressing the ability
20
     of a party to amend its complaint); In re Kemmer, 265 B.R. 224, 230 (Bankr. E.D. Cal. 2001) (same);
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     Am. Timber & Trading Co. v. First Nat’l Bank of Or., 690 F.2d 781, 786 (9th Cir. 1982) (noting that
22
     a party need not plead all “specific legal theories in the complaint”).
23
            Plaintiff presents no valid argument as to why it would be inequitable to apply these
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     doctrines against it because the equities favor Tile. The one such argument that Plaintiff does raise—
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     that it would allegedly be unfair to bar Plaintiff from “presenting theories regarding the inventive
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     nature of any or all aspects of the claims of the ’655 Patent” because a claim “was previously
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     addressed as ‘representative’”—is contrary to law for the reasons explained above in Section II.A.2
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     (addressing the application of issue preclusion to unadjudicated patent claims) and below in Section
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 1   II.F (addressing dismissal with prejudice). Regardless, equity is not the test: Federal Rules of Civil
 2   Procedure 8 and 12 bar Plaintiff’s attempts to bring barred and otherwise deficient claims to trial.
 3   See, e.g., Fed. R. Civ. P. 8(a)(2) (requiring “a short and plain statement of the claim showing that
 4   the pleader is entitled to relief” (emphasis added)), 12(b), (c), & (i) (requiring that courts resolve
 5   before trial motions based on failure to state a claim upon which relief can be granted).
 6          F.      Section 282 Does Not Save the Dependent Claims, and Plaintiff Does Not
                    Dispute that Dismissal Should Be with Prejudice
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            Federal Circuit authority contradicts Plaintiff’s argument that Section 282 bars dismissal of
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     the dependent claims. See Dkt. 115 at 1:27–2:2 & 9:9–14. In analyzing Section 101 generally, the
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     Court can rely (and already has relied, see Dkt. 57 at 6:16–19) upon a representative claim rather
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     than separately analyzing each and every claim. Orcinus Holdings, LLC v. Synchronoss Techs., Inc.,
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     379 F. Supp. 3d 857, 872 (N.D. Cal. 2019) (citing Content Extraction & Transmission LLC v. Wells
12
     Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014)). Further, as discussed above (see
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     supra § II.A.2), issue preclusion applies to unadjudicated patent claims when nothing materially
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     alters the question of invalidity. Ohio Willow Wood, 735 F.3d at 1342; see also Cisco, 2020 WL
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     4923697, at *6 (applying Ohio Willow Wood). These legal principles are particularly applicable here
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     because—despite having had ample opportunity to do so—Plaintiff cannot identify any alleged
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     inventive concept in the remaining dependent claims.
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            Tile demonstrated in its motion that it would be futile to grant Plaintiff leave to amend and
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     that the Court should dismiss the Amended Complaint with prejudice. See Dkt. 114 at 14:17–15:24.
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     Plaintiff did not even address these arguments. Accordingly, Tile respectfully requests that the Court
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     grant the requested relief. “[T]he district court has broad discretion” in deciding whether to grant
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     leave to amend a complaint “where the plaintiff has previously filed an amended complaint.”
23
     Alexander v. Citigroup Global Mkts., Inc., 607 F. App’x 696, 697 (9th Cir. 2015) (citing Cafasso,
24
     U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1058 (9th Cir. 2011)).
25
     III.   CONCLUSION
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            For the foregoing reasons, Tile respectfully requests that the Court reconsider its prior order
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     and dismiss Plaintiff’s Amended Complaint with prejudice.
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